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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


  ALEJANDRO LUPIAN, JUAN                     :   Civil Action: 2:16-cv-05172-WJM-
  LUPIAN, ISAIAS LUNA, JOSE                  :   MF
  REYES and EFRAIN LUCATERO,
  individual and on behalf of at] others
  similar]y situated,

                             Plaintiffs,
               V.


  JOSEPH CORY HOLDINGS LLC,

                           Defendant.




       IØ%***1 ORDER GRANTING PLAINTIFFS’ ASSENTED-TO
   MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT


        The Court, having reviewed Plaintiffs’ Unopposed Motion for Final

  Approval of Settlement of the Settlement Agreement, hereby grants the Motion

  and orders as follows:

        (1)    The Settlement Agreement is incorporated by reference into this Order

  and is hereby adopted as an Order of this Court.

        (2)    The Court finds that the applicable requirements of Federal Rule of

  Civil Procedure 23(a) and (b) have been satisfied with respect to the Settlement Class
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  and the proposed Class Settlement. The Court hereby makes final its earLier

  certification of the proposed Settlement Class, defined as follows:

               All persons who entered into a Dedicated Contract Carrier
               Agreement and/or Transportation Services Agreement
               individually or on behalf of another entity for the provision
               of delivery services in the State of Illinois and personally
               provided delivery services in the State of Illinois for
               Joseph Cory Holdings LLC during the period between
               August 25, 2006 and February 15, 2019.
        (3)    The Court hereby finds that the Notice of Settlement was distributed to

  all members of the Settlement Class defined above, and that it fully and accurately

  informed the Settlement Class Members of all material elements of the proposed

  Settlement, and was the best notice practicable under the circumstances, and

  complied with the requirements of the Federal Rules of Civil Procedure and due

  process.

        (4)    The Court finds that no Settlement Class Member has objected to the

  Settlement, and no Settlement Class Member has requested exclusion from the

  Settlement Class. Because no Settlement Class Member has requested exclusion,

  the Court finds that all individuals included in the definition above are class

  members and are bound by the terms of the Settlement.

        (5)    The Court hereby approves the parties’ agreed-upon procedure for

  disbursement of the settlement awards, as set out in the Settlement Agreement.
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0                (6)    The Court hereby approved attomeys fees in the amount of one-third

           of the Gross Settlement Amount ($891,666.67) to compensate Class Counsel for all

          work performed in this action.

                 (7)    The Court hereby approves service awards to Plaintiffs Alejandro

          Lupian, Juan Lupian, Isalas Luna, Jose Reyes, and Efrain Lucatero in the amount of

           $15,000.00 each.

                 (8)    The Court hereby finds that the Settlement is fair, reasonable, and

          adequate, upon consideration of all factor set forth in Federal Rule of Civil Procedure

          23(e)(2).

                 (9)    The Court hereby enters final judgment and dismisses this action with

          prejudice, with each party to bear its own fees and costs except as set out in

          Paragraph 6 above.

                 (10)   Without affecting the finality of this Judgment in any way, the Court

          hereby retains continuing jurisdiction over any dispute regarding the interpretation

          of the terms of this Agreement.



          IT IS SO ORDERED.




          DATE
               /0//f                                Hon. Wiflian’lvIartini
                                                     United SØ(Distñct Judge


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